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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0048-JAM-1

12                                 Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN GOVERNMENT’S NOTICE
13                          v.

14   HENRY JAMES BARLOW,

15                                Defendant.

16

17          Pursuant to Local Rule 141(b), and based on the representation contained in the government’s

18 Request to Seal, IT IS HEREBY ORDERED that the documents referenced in the government’s Request

19 to Seal shall be SEALED until further order of this Court.

20          It is further ordered that access to the sealed documents shall be limited to the government and

21 counsel for defendant Henry James Barlow.

22          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court

23 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990), and United States v. Doe, 870 F.3d 991 (9th

24 Cir. 2017). The Court finds that, for the reasons stated in the government’s Request to Seal, sealing the

25 documents referenced in the government’s Request to Seal serves a compelling interest. The Court

26 further finds that, in the absence of closure, the compelling interests identified by the government would

27 be harmed. In light of the public filing of its Request to Seal, the Court further finds that there are no

28 / / /


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
      FORTH IN GOVERNMENT’S NOTICE
               Case 2:17-cr-00048-JAM Document 49 Filed 08/14/18 Page 2 of 2

 1 additional alternatives to sealing the above-described documents that would adequately protect the

 2 compelling interests identified by the government.

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 4    Dated:     8/13/2018                            /s/ John A. Mendez
                                                    THE HONORABLE JOHN A. MENDEZ
 5                                                  UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET         2
      FORTH IN GOVERNMENT’S NOTICE
